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                      UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII


   Eve Nevada, LLC                     )    Case No.: 1:20-cv-475-DKW-KJM
                                       )    (Copyright)
                   Plaintiff,          )
      vs.                              )    GARNISHEE SUMMONS AND
                                       )    ORDER
                                       )
    COREY R. EVANS                     )    JUDGMENT DUE: $10,466.55
                                       )
                   Defendant.          )    JUDGEMENT DATE: 7/12/2021
                                       )

  GARNISHEE:
  NAVY FEDERAL CREDIT UNION
  4256 Radford Dr
  Honolulu, HI 96818

  820 Follin Lane SE
  Vienna, Virginia 22180

                    GARNISHEE SUMMONS AND ORDER

  TO: ANY OFFICER IN HAWAI‘I AUTHORIZED TO MAKE SERVICE

        You are COMMANDED to leave a true and attested copy of this Summons


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  and Order with the above named Garnishee(s).

  TO: GARNISHEE(S):

        You, as Garnishee(s), are SUMMONED and required to appear personally

  before the Honorable Kenneth J. Mansfield, United States Magistrate Judge of the

  United States District Court for the District of Hawaii, 300 Ala Moana Blvd.

  Honolulu, Hawaii 96850. If you are a Federal Agency, you have thirty (30) days to

  respond. (5 U.S.C. §5520a(d))

        OR you may instead file a written disclosure in the above-entitled Court, and

  serve a copy of it on Plaintiff(s) or Plaintiff(s)’ attorney within twenty (20) days after

  service of the summons upon you, exclusive of the date of service regarding

  Defendant COREY R. EVANS (“Defendant”) who has at least the following

  accounts with NAVY FEDERAL CREDIT UNION:

  ******6900 Savings;

  ******8586 Checking; and

  ******9224 Checking.

        Your disclosure must be made under Oath. It must state whether you have,

  or at the time of service:

               a. Had any of the goods or effects of the Defendant in your hands and,

  if so, their nature, amount and value.

        OR


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               b. Were or are indebted to the Defendant and, if so, the nature and the

  amount of the debt.

        OR

               c. Defendant was in receipt from you of any salary, wages,

  commissions, stipend, annuity, net income or a portion of net income under a trust

  and, if so, the amount or rate thereof.

        You, as Garnishee (s), are ORDERED to hold and secure from the time of

  service of this Summons, and until further ordered by the Court an amount of money

  which shall not exceed 120% of the amount of the judgment indicated above,

  including costs and interest, as provided by Hawai‘i Revised Statutes §652 & §653.

        *SEE FEDERAL WAGE GARNISHMENT LAW FOR APPLICABLE

  RESTRICTIONS. (Attached form entitled “Garnishee Information”)

        This summons shall not be personally delivered between 10:00 p.m. and 6:00

  a.m. on premises not open to the public, unless a Judge of the above-entitled Court

  permits, in writing on this summons, personal delivery during those hours.

        Hawai’i Revised Statutes §652-9. GARNISHEE MAY BE HEARD ON

  NOTICE TO PLAINTIFF.

        Whenever any person summoned as a garnishee may be desirous of so doing,

  the person may apply to the district judge or any judge of the Court from which the

  summons may have issued, and the judge having caused reasonable notice to be


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  given to the Plaintiff in action, shall proceed to take the deposition of the person thus

  summoned, and make such order as may be proper in the premises, at any time

  previous to the date appointed for hearing the cause, and the person summoned as

  garnishee, shall be taken to have obeyed the summons.

        If it appears that there are conflicting claims to any moneys held for

  safekeeping, debt, goods, or effects in the garnishee’s hands, any time after the

  summons is served the garnishee may be permitted upon order of the judge to pay

  into the Court any moneys held for safekeeping, debts, goods, or effects in the

  garnishee’s hands, less any reasonable costs and attorney’s fees allowed by the judge

  and the garnishee will thereupon be discharged.

        With or without payment into Court, any garnishee may, where there are

  conflicting claims to any moneys held for safekeeping, debt, goods, or effects in the

  garnishee’s hands of any amount, make application for an interpleader order and the

  judge shall thereupon make all orders as appear to be just and reasonable.

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                          COURT DATE AND ADDRESS

        United States District Court for the District of Hawaii, 300 Ala Moana Blvd.

  Honolulu, Hawaii 96850 on July 13            , 2022 at 9:00 a.m.



        DATED:       Honolulu, Hawaii,    May 25, 2022.



                     Clerk, - -Pam Hartman Beyer, Clerk
                                -----------


                                  Isl EA, Deputy Clerk
                  Deputy Clerk , _ _ _ _ _ _ _ _ _ __




  Eve Nevada, LLC v. Corey R. Evans, Case No. : 1 :20-cv-00475-DKW-KJM, GARNISHEE
  SUMMONS




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                                                        GARNISHEE INFORMATION
                                                                                                                             Form# 3DC27
                                                        NOTICE TO THE DEBTOR
     PLEASE TAKE NOTICE that a garnishee summons has been served upon your employer (who is called the "garnishee")
     without any further court proceedings or notice to you. The garnishee summons was issued on the basis of a judgment
     against you in favor of the judgment creditor.

     The amount of wages that may be garnished is limited by federal and Hawai'i law. Therefore, some or all of your wages are
     exempt from garnishment. If your wages are garnished, you may request that your employer show you how the amount
     garnished was calculated.

     If you claim the garnishment is incorrect you also have a right to request a hearing. In order to request a hearing, you must
     follow the procedures set forth in the rules of this Court and in Hawai'i Revised Statutes§ 652-l(d).

                                                      NOTICE TO THE GARNISHEE
     Wages of your employees may be subject to garnishment when you are served with a Motion for Issuance of Garnishee
     Summons After Judgment or Declaration of Judgment Creditor for Garnishment of Wages. If you are served with a Garnishee
     Summons, you, as the garnishee, are required to begin withholding immediately a part of your employee's wages (including
     any salary, stipend, commission, annuity or net income or portion of net income under a trust). The money you withhold must
     then be paid to the judgment creditor (the person or business who is owed the money) or the judgment creditor's attorney after
     you receive the garnishee order, which will be sent to you. If you are served with a Declaration of Judgment Creditor, you
     must begin paying the required portion of the garnished wages to the judgment creditor or the judgment creditor's attorney
     immediately.

                                                             Maldng a Disclosure
     State law allows, but does not require, you to make a disclosure after you are served. If you choose to make a disclosure, you
     may appear in Court or file with the Comi a statement (form available from the Comi) stating whether the judgment debtor
     is: (1) your employee; and (2) whether you have any money which is due to the judgment debtor that can be garnished. Ifyou
     do not make a disclosure, it will be assumed that the judgment debtor is your employee and you will be required to comply
     with the Garnishee Summons and Order or the Declaration of Judgment Creditor.

                                                          Amounts To Be Withheld
     The amount of wages that may be deducted is limited by federal and Hawai'i law. Therefore, you must calculate the amount
     of wages to be withheld in accordance with either federal or Hawai'i law. IMPORTANT: YOU MUST USE THE
     CALCULATION THAT IS MOST FAVORABLE TO YOUR EMPLOYEE. A Garnishment Calculation Worksheet,
     Form# 3DC27C, is available if you need assistance with your calculation.

     Calculation Pursuant to Hawai'i Law: According to Hawai'i Revised Statutes Chapter 652, the amount to be withheld from
     your employee's wages is calculated as follows:

               (1)          You must first calculate the amount of wages remaining after the deduction of any amounts required
                            by law to be withheld.
               (2)          From that amount, you must withhold five percent of the first $100 per month, ten percent of the next $100
                            per month, and twenty percent of all sums in excess ot $200 per month, or an equivalent p01iion of the above
                            amount per week

     Calculation Pursuant to Federal Law: According to Title III of the Consumer Credit Protection Act (15 U.S.C. § 1673), the
     amount to be withheld from your employee's wages is calculated as follows:

               (1)          You must first calculate your employee's DISPOSABLE EARNINGS for the applicable pay period. The
                            term "DISPOSABLE EARNINGS" is defined as compensation paid or payable for personal services
                            after deducting any amounts required to be withheld by law (such as taxes). The amount of
                            Disposable Earnings subject to garnishment is determined by the restrictions that are in effect at the time
                            such earnings are paid or payable.
               (2)          From the DISPOSABLE EARNINGS, you must withhold an amount for the applicable pay period as
                            follows:

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                                                                    EFFECTIVE JULY 24, 2009
       Weekly                                 Bi-Weekly                         Semi-Monthly                      Monthly
       $217 .50 or less:                      $435.00 or less:                  $471.25 or less:                  $942.50 or less:
       None                                   None                              None                              None
       More than $21 7 .50 but less           More than $435.00 but less than   More than $471.25 but less than   More than $942.50 but less
       than $290.00:                          $580.00:                          $628.33:                          than $1,256.67:
       Amount above $217.50                   Amount above $435.00              Amount above $471.25              Amount above $942.50
       $290.00 or more: Maximum               $580.00 or more:                  $628.33 or more:                  $1,256.67 or more:
       25%                                    Maximum 25%                       Maximum25%                        Maximum25%

     Example: Employee's gross pay is $310.00 per week, $233.68 "disposable" after taxes and other deductions required by
     law.

               Hawai'i Calculation: The amount to be withheld under Hawai'i law is based on monthly disposable earnings of
               $1,012.61. Of this amount, 5% of the first $100, 10% of the second $100, and 20% of the remaining $812.61,
               should be withheld monthly, for a total of $177 .52 per month.

               Federal Calculation: The amount to be withheld weekly under federal law is either the amount of disposable
               earnings over $217.50 ($11.28), or 25% of disposable earnings if they are more than $262.00, for a total of $16.18
               per week or $70.11 per month.
                 [$233.68 -$217.50 = $16.18 X 52/12 = $70.11]

               Amount to be Withheld: Because the federal calculation is more favorable to the employee, $70.11 per month, or
               $16.18 per week, must be withheld.

     Example: Employee's gross pay is $350.00 per week, $267.00 "disposable" after taxes and other deductions required by
     law.

               Hawai'i Calculation: The amount to be withheld under Hawai'i law is based on monthly disposable earnings of
               $1,157.00 ($267.00 x 52/12). Of this amount, 5% of the first $100, 10% of the second $100, and 20% of the
               remaining $957.00, should be withheld monthly, for a total of $206.40 per month.
                 [$5.00 (5% x 1'1 $100.00) + $10.00 (10% of 2 nd $100.00) + $191.40 (20% ofremaining $957.00) = $206.40]

               Federal Calculation: The amount to be withheld weekly under federal law is either the amount of disposable
               earnings over $217.50, or 25% of disposable earnings if they are more than $290.00, for a total of $49.50 per week
               or $214.50 per month.
                 [$267.00 - $217.50 = $49.50 X 52/12 = $214.50]

               Amount to be Withheld: Because the Hawai'i calculation is more favorable to the employee, $206.40 per month
               must be withheld.

                                                      Other Information
     The law prohibits an employer from discharging any employee because the employee's wages have been subjected to
     garnishment.

     An employer's obligation to withhold is continuing. If there is a period where the employee has not earned sufficient
     income, you must begin to withhold again as soon as the earnings of your employee increase sufficiently.

     Prior to malting the final payment, you should contact the judgment creditor or the judgment creditor's attorney
     to obtain the final payoff, amount which may include additional interest as allowed by law .
                  In accordance with the Americans with Disabilities Act if you require an accommodation for your disability, please
                  contact the ADA Coordinator at PHONE NO. (808) 961-7424, FAX (808) 961-7411, or TTY (808) 961-7422 at least ten
                  (10) working days in advance of your hearing appointment date. For Civil related matters, please call or visit the
                  District Court Civil Section at Hilo Division, 777 Kilauea Avenue, Hilo, Ph. (808) 961-7515 • Kohala Division,
      •           67-5187 Kamamalu St., Kamuela, Ph. (808) 443-2030 • Kona Division, 79-1020 Haukapila St., Kealakekua,
                  Ph. (808) 322-8700.



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